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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

VIDEOLABS, INC. and         )
VL COLLECTIVE IP LLC,       )
                            )
                Plaintiffs, )
                            )
     v.                     )                 C.A. No. 22-680 (CFC)
                            )
META PLATFORMS, INC.,       )
INSTAGRAM, INC., WHATSAPP   )
LLC, FACEBOOK TECHNOLOGIES, )
LLC and GIPHY, INC.,        )
                            )
                Defendants. )

               DEFENDANTS’ PARTIAL MOTION TO DISMISS

        Pursuant to Federal Rule of Civil Procedure 12(b)(6) and 35 U.S.C. § 101,

Defendants Meta Platforms, Inc., Instagram, Inc., WhatsApp LLC, Facebook

Technologies, LLC,1 and Giphy, Inc. (collectively, “Defendants”) move to dismiss

Counts IV and V of Plaintiffs VideoLabs, Inc. and VL Collective IP LLC’s

(collectively, “Plaintiffs”) complaint (D.I. 1) with prejudice on the grounds that U.S.

Patent Nos. 7,266,682 and 7,436,980 fail to recite patentable subject matter under

35 U.S.C. § 101. Additionally, Defendants move under Fed. R. Civ. P. 12(b)(6) to

dismiss Plaintiffs’ claims for indirect and willful infringement (D.I. 1, Counts I-V).



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     Facebook Technologies, LLC changed its name to Meta Platforms
Technologies, LLC prior to the Complaint in this case.
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      The grounds for this motion are set forth more fully in the accompanying

Opening Brief and the materials and information cited therein.


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August 1, 2022




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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

VIDEOLABS, INC. and         )
VL COLLECTIVE IP LLC,       )
                            )
                Plaintiffs, )
                            )
     v.                     )                 C.A. No. 22-680 (CFC)
                            )
META PLATFORMS, INC.,       )
INSTAGRAM, INC., WHATSAPP   )
LLC, FACEBOOK TECHNOLOGIES, )
LLC and GIPHY, INC.,        )
                            )
                Defendants. )

                              [PROPOSED] ORDER

      At Wilmington this ___ day of _________________, 2022, having considered

Defendants’ Partial Motion to Dismiss pursuant to 35 U.S.C. § 101 and Fed. R. Civ.

P. 12(b)(6) (“Defendants’ Motion”), and any further submissions in support of or in

opposition thereto,

      It is hereby ordered that the Defendants’ Motion is GRANTED and Counts

IV and V of the Complaint (D.I. 1), which assert U.S. Patent Nos. 7,266,682 and

7,436,980, are dismissed with prejudice for failure to claim patent eligible subject

matter pursuant to 35 U.S.C. § 101.

      It is further ordered that the indirect and willful infringement claims in Counts

I-V of the Complaint are dismissed under Fed. R. Civ. P. 12(b)(6) for failure to

support with plausible allegations of fact.
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                            Chief, United States District Judge




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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 1, 2022, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send

notification of such filing to all registered participants.

      I further certify that I caused copies of the foregoing document to be served

on August 1, 2022, upon the following in the manner indicated:

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